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                                      UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF OHIO

 UNITED STATES OF AMERICA                                                §      JUDGMENT IN A CRIMINAL CASE
                                                                         §
 v.                                                                      §
                                                                         §      Case Number: 1:20-CR-00731-PAB(9)
 TREMAYNE KELLOM                                                         §      USM Number: 21377-509
                                                                         §      Darin Thompson
                                                                         §      Defendant’s Attorney

THE DEFENDANT:
       pleaded guilty to Count 1 of the Superseding
 ☒ Indictment.
       pleaded guilty to count(s) before a U.S. Magistrate
 ☐ Judge, which was accepted by the court.
       pleaded nolo contendere to count(s) which was
 ☐ accepted by the court
 ☐ was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                   Offense Ended        Count
 18:1349 Conspiracy To Commit Health Care Fraud                                                        09/01/2020           1s




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Counts 2 & 3 ☐ is ☒ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                  April 4, 2023
                                                                  Date of Imposition of Judgment




                                                                  s/Pamela A. Barker
                                                                  Signature of Judge



                                                                  Pamela A. Barker, United States District Judge
                                                                  Name and Title of Judge

                                                                  April 5, 2023
                                                                  Date
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DEFENDANT:                     TREMAYNE KELLOM
CASE NUMBER:                   1:20-CR-00731-PAB(9)

                                                              PROBATION
The defendant is hereby sentenced to probation for a term of: Three (3) years as to Count 1 of the Superseding Indictment, with
four (4) months to be served of home detention.

                                                 MANDATORY CONDITIONS

 1.       You must not commit another federal, state or local crime.
 2.       You must not unlawfully possess a controlled substance.
 3.       You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
          release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                ☒ The above drug testing condition is suspended, based on the court's determination that you
                      pose a low risk of future substance abuse. (check if applicable)
 4. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
                seq.)
                as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
                reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.       ☐ You must participate in an approved program for domestic violence. (check if applicable)

 7        G You must make restitution in accordance with 18 U.S.C. '' 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
 applicable)

     8         You must pay the assessment imposed in accordance with 18 U.S.C. ' 3013.

     9.        If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.

 10.           You must notify the court of any material change in your economic circumstances that might affect your ability to pay
               restitution, fines, or special assessments.

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
 attached page



            Defendant delivered on                                     to


at                                          , with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL

                                                                                                          By
                                                                                          DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                 TREMAYNE KELLOM
CASE NUMBER:               1:20-CR-00731-PAB(9)

                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change. If not in compliance with the condition of supervision requiring full-time
occupation, you may be directed to perform up to 20 hours of community service per week until employed, as approved or directed by
the pretrial services and probation officer.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. As directed by the probation officer, you shall notify third parties who may be impacted by the nature of the conduct underlying
your current or prior offense(s) of conviction and/or shall permit the probation officer to make such notifications, and/or confirm your
compliance with this requirement.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at the www.uscourts.gov.

 Defendant’s Signature                                                                             Date
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DEFENDANT:                 TREMAYNE KELLOM
CASE NUMBER:               1:20-CR-00731-PAB(9)

                                 SPECIAL CONDITIONS OF SUPERVISION


Financial Disclosure
You must provide the probation officer with access to any requested financial information and
authorize the release of any financial information. The probation office may share financial
information with the U.S. Attorney's Office.

No New Debt/Credit
You must not incur new credit charges or open additional lines of credit without the approval of
the probation officer.

Financial Windfall Condition
You must apply all monies received from income tax refunds, lottery winnings, judgments, and/or
any other anticipated or unexpected financial gains to the outstanding court-ordered financial
obligation.
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DEFENDANT:                   TREMAYNE KELLOM
CASE NUMBER:                 1:20-CR-00731-PAB(9)

                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                     Assessment      JVTA Assessment*                         Fine                                   Restitution
 TOTALS                                   $100.00                                             $.00                                  $184,586.83

           ☐            The determination of restitution is deferred until  An Amended Judgment in a Criminal Case
                        (AO245C) will be entered after such determination.
                       The defendant must make restitution (including community restitution) to the following payees in the
                        amount listed below.
 Ohio Department of Medicaid
 c/o the Ohio Attorney General’s Office
 Health Care Fraud Section
 30 E. Broad St. 23rd Floor
 Columbus, OH 43215

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.




 ☒ Restitution amount ordered pursuant to plea agreement $ $184,586.83
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☒ the interest requirement is waived for the          ☐ fine                            ☒ restitution
       ☐ the interest requirement for the                       ☐ fine                                ☐ restitution is modified as follows:
* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                    TREMAYNE KELLOM
CASE NUMBER:                  1:20-CR-00731-PAB(9)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☐ Lump sum payments of $                                            due immediately, balance due

        ☐ not later than                                        , or

        ☐ in accordance                    ☐      C,          ☐        D,       ☐       E, or       ☐       F below; or

 B      ☒ Payment to begin immediately (may be combined with                    ☐       C,          ☒       D, or             ☒       F below); or

 C      ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      ☒ Should the defendant be unable to pay in full immediately, the balance must be paid at a minimum rate of 10% of the
              defendant's gross monthly income.

 E      ☐ Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F      ☒ Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1s, which
              shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

       Joint and Several with Co-Defendants Alfonzo D. Bailey (1) and Eye for Change Youth and Family Services, Inc. (10).
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

        ☐ Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
